Case 1:21-cv-00461-WES-LDA Document 1-3 Filed 11/22/21 Page 1 of 11 PageID #: 13




                                               EXHIBIT C
  Case 1:21-cv-00461-WES-LDA Document 1-3 Filed 11/22/21 Page 2 of 11 PageID #: 14
                                         Providence/Bristol County Superior Court

                                                    Case Summary
                                                 Case No. PC-2021-06827


FRANCIS DADDONA v. TARGET CORPORATION                        §                      Location: Providence/Bristol County
                                                                                              Superior Court
                                                             §                      Filed on: 11/04/2021



                                                   Case Information

                                                                                      Case Type: Personal Injury
                                                                                     Case Status: 11/04/2021
                                                                                                  Unassigned
                                                                                      Case Flags: Claim for Jury Trial
                                                   Party Information

Plaintiff    DADDONA, FRANCIS             MONTI, HENRY S.
                                          Retained

Defendant TARGET CORPORATION



                                                      Case Events

11/04/2021
             Complaint Filed
11/04/2021
             Summons
11/04/2021
             Claim of Jury Trial Filed
11/09/2021
             Summons Proof of Service Filed



                                                 Financial Information

             Plaintiff    DADDONA, FRANCIS
             Total Financial Assessment                                                                           180.75
             Total Payments and Credits                                                                           180.75
             Balance Due as of 11/22/2021                                                                           0.00
11/04/2021 Transaction Assessment                                                                                 180.75
11/04/2021 Electronic Payment                 Receipt # SCP-2021-017891                                          (180.75)




                                                        PAGE 1 OF 1                           Printed on 11/22/2021 at 9:51 AM
Case Number: PC-2021-06827
Filed in Providence/Bristol County Superior Court
                 Case 1:21-cv-00461-WES-LDA
Submitted: 11/4/2021 9:57 AM
                                                           Document 1-3 Filed 11/22/21 Page 3 of 11 PageID #: 15
Envelope: 3358118
Reviewer: Jaiden H.



                 STATE OF RHODE ISLAND                                                       SUPERIOR COURT
                 PROVIDENCE, SC.

                 FRANCIS           DADDONA
                                        VS.      .
                                                                                             C.A. NO.
                                                                                   I




                 TARGET CORPORATION, Alias John Doe

                                                                    COMPLAINT
                             The Defendant, TARGET CORPORATION, on or about February 6, 2019 operated a
                            1.

                 retail store at 371 Putnam Pike, Suite A—250 located at Town, located in the Town of Smithﬁeld,

                 County of Providence, State of Rhode Island, and at all times mentioned herein was in possession
                 and control and operated and maintained said premises as well as managed                   it.




                            2.    That on 0r about the 6th day of February, 2019 the Plaintiff,      FRANCIS DADDONA, was
                 lawfully 0n the Defendant's said premises in the stock room as he was employed by Northeast
                 Beverage and had just ﬁnished stocking and checking his items and was leaving the store through
                 the stock room.


                        3. At the time and place aforesaid, the Defendant was negligent in having maintained the

                 stock room, speciﬁcally the area around exit door in a dangerous, defective, unﬁt, unsafe and
                 negligent manner because among other things there was a open box in the doorway left by
                 Defendant’s employee. Also the Defendant was negligent in failing to adequately warn the Plaintiff
                 of said danger and negligent in failing t0 adequately inspect the premises. As a result of the
                 Defendant's negligence, the Plaintiff was caused t0 suffer a               fall.



                          The Defendant knew 0r should have known that the condition ofthe stock room near the
                            4.

                 doorway was dangerous t0 persons walking on it.

                            5.    The   Plaintiff was at all times in the exercise     of due care and caution.

                         6. That as a direct and proximate result of the Defendant's negligence, as aforesaid, the
                 Plaintiff sustained personal injuries and emotional harm which incapacitated him, causes him
                 suffering and pain; he incurred, is continuing to incur, and in the future will incur expenses for
                medical and hospital care and attention; he was unable to perform his usual occupation and lost
                wages, salaries and/or earnings, and also suffered a loss in earning capacity and scarring 0f loss of
                use.


                         WHEREFORE,            the Plaintiff demands judgment against the Defendant, plus costs and
                interest.        The monetary amount claimed is sufﬁcient to establish the jurisdiction 0f the Superior
                Court.



                                                                  Page    l   of        2
Case Number: PC-2021-06827
Filed in Providence/Bristol County Superior Court
                 Case 1:21-cv-00461-WES-LDA
Submitted: 11/4/2021 9:57 AM
                                                     Document 1-3 Filed 11/22/21 Page 4 of 11 PageID #: 16
Envelope: 3358118
Reviewer: Jaiden H.




                         The   Plaintiff demands trial   by jury.

                                                                    By Plaintiffs   Attorney,




                                                                    /s/ Henrv S.   Monti
                                                                    HENRY S. MONTI, ESQ #2745
                                                                    GEMMA LAW ASSOCIATES, INC.
                                                                    231RESERVOIR AVENUE
                                                                    PROVIDENCE, RI 02907
                                                                    TELEPHONE: (401) 467-2300
                                                                    FACSIMILE: (401) 467-8678
                                                                    E-MAIL: Henry@GemmaLaw.com

                 DATED: NOVEMBER 4,           2021




                                                             Page    2    of   2
Plaintiff
FRANCIS
            m
       Case 1:21-cv-00461-WES-LDA Document 1-3 Filed 11/22/21 Page 5 of 11 PageID #: 17



                    /




                DADDONA
                        WA
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                                  Ne"
                                                 STATE OF RHODE ISLAND
                                                    SUPERIOR COURT
                                                       SUMMONs
                                                                Civil Action File
                                                                PC-2021-06827
                                                                                     Number

                                                                Attorney for the Plaintiff 0r the Plaintiff
                                                                Henry S. Monti
V.                                                              Address of the Plaintiff’s Attorney 0r the Plaintiff
TARGET CORPORATION                                              GEMMA LAW ASSOCIATES INC
Defendant                                                       231RESERVOIR AVENUE
                                                                PROVIDENCE RI 02907

Licht Judicial     Complex                                      Address 0f the Defendant
Providence/Bristol County                                       1000NICOLLET MALL
250 Beneﬁt       Street                                         MINNEAPOLIS MN 55403
Providence RI 02903
(401) 222-3250


TO THE DEFENDANT, TARGET CORPORATION:
     The above-named                         an action against you in said Superior Court in the county
                                   Plaintiff has brought
indicated above. You are hereby summoned and required t0 serve upon the Plaintiff’s attorney, Whose
address is listed above, an answer to the complaint Which is herewith served upon you Within twenty (20)
days after service of this Summons upon you, exclusive 0f the day 0f service.

     If   you   fail t0      d0   so,   judgment by default will be taken against you       for the relief   demanded   in the
complaint.      Your answer must            also be ﬁled with the court.

     As provided    Rule 13(a) of the Superior Court Rules of Civil Procedure, unless the relief demanded in
                        in
the complaint      is damage arising out 0f your ownership, maintenance, operation, or control of a motor
                         for
vehicle, 0r unless otherwise provided in Rule 13(a), your answer must state as a counterclaim any related
claim which you may have against the Plaintiff, or you Will thereafter be barred from making such claim in
any other   action.


This   Summons was             generated on 11/4/2021.                /s/   Stephen Burke
                                                                      Clerk



                                            Witness the seal/watermark of the Superior Court




SC-CMS-l        (revised July 2020)
         Case 1:21-cv-00461-WES-LDA Document 1-3 Filed 11/22/21 Page 6 of 11 PageID #: 18



               m.)
                "            'h'




                       ”2% NeQ
                                               STATE 0F RHODE ISLAND
                                                     SUPERIOR COURT
Plaintiff                                                                              Civil Action File   Number
FRANCIS         DADDONA                                                                PC—202 1 -06827
V.

TARGET CORPORATION
Defendant



                                                      PROOF 0F SERVICE
     I   hereby certify that 0n the date below        I   served a copy 0f this   Summons,   complaint, Language Assistance
Notice, and      all   other required documents received herewith          upon   the Defendant,   TARGET CORPORATION,
by delivering 0r leaving           said papers in the following manner:


     U With the Defendant personally.
     D    At the Defendant’s dwelling house or usual place of abode with a person of                suitable age   and discretion
          then residing therein.
          Name    of person of suitable age and discretion
          Address of dwelling house or usual place of abode


          Age   ___
           Relationship t0 the Defendant


     D With an agent authorized by appointment or by law to receive service of process.
          Name    of authorized agent
           If the agent is   one designated by    statute to receive service, further notice as required   by   statute   was given
           as noted below.




     U With a guardian 0r conservator of the Defendant.
          Name    0f person and designation

     D By delivering said papers to the attorney general or an assistant attorney general if serving the state.
     U Upon a public corporation, body, or authority by delivering said papers t0 any ofﬁcer, director, 0r
           manager.
           Name    of person and designation




                                                              Page   1   of2




SC-CMS-l        (revised July 2020)
      Case 1:21-cv-00461-WES-LDA Document 1-3 Filed 11/22/21 Page 7 of 11 PageID #: 19



                  i.“ I‘    '
                                                   STATE OF RHODE ISLAND
                                                       SUPERIOR COURT
     Upon   a private corporation, domestic or foreign:
      U By delivering said papers to an ofﬁcer or a managing 0r general agent.
        Name 0f person and designation
      U By leaving said papers at the ofﬁce 0f the corporation with a person employed therein.
        Name of person and designation
      U By delivering said papers to an agent authorized by appointment or by law to receive service                               of process.
       Name 0f authorized agent
        If the agent is   one designated by         statute to receive service,          ﬁmher notice     as required   by   statute   was given
        as noted below.



     U Iwas unable to make service after the following reasonable attempts:


SERVICE DATE:                         /        /                                       SERVICE FEE   $
                    Month Day      Year
Signature   of SHERIFF or DEPUTY SHERIFF                    or       CONSTABLE

SIGNATURE OF PERSON OTHER THAN A SHERIFF                                          0r   DEPUTY SHERIFF        0r   CONSTABLE MUST BE
NOTARIZED.

Signature


State 0f

County of

     On this                day of                               ,
                                                                     20       ,
                                                                                  before me, the undersigned notary public, personally
appeared                                                                                            U     personally    known    to the notary

0r    U     proved     to       the       notary    through          satisfactory        evidence    of     identiﬁcation,        Which      was
                                                                          ,
                                                                              to   be the person    Who    signed above in       my     presence,
and Who swore 0r afﬁrmed              to the notary that the contents             of the document are truthful to the best 0f his or her
knowledge.
                                                                      Notary Public:
                                                                      My commission expires:
                                                                      Notary identiﬁcation number:
                                                                     Page 2 of 2




SC-CMS-l       (revised July 2020)
Case Number: PC-2021-06827
                      County Superior Court
                 Case 1:21-cv-00461-WES-LDA
Filed in Providence/Bristol
                       AM
Submitted: 11/4/2021 10:09
                                            Document 1-3 Filed 11/22/21 Page 8 of 11 PageID #: 20
Envelope: 3358176
Reviewer: Jaiden H.




                     STATE OF RHODE ISLAND                                         SUPERIOR COURT
                     PROVIDENCE, SC.

                     FRANCIS     DADDONA
                                     VS.                                    :      CA. NO. PC-2021-06827

                     TARGET CORPORATION, Alias John Doe

                                                       REQUEST FOR JURY TRIAL

                              Now comes the Plaintiff in the above-entitled matter and request a jury trial.

                                                                            By Plaintiff‘s Attorney,



                                                                           /S/Henrv   S.   Monti
                                                                            HENRY S. MONTI, ESQ #2745
                                                                            GEMMA LAW ASSOCIATES, INC.
                                                                            231RESERVOIR AVENUE
                                                                            PROVIDENCE, RI 02907
                                                                            TELEPHONE: (401) 467-2300
                                                                            FACSIMILE: (401) 467-8678
                                                                            E-MAIL: Henry@gemmalaw.com



                     DATED: NOVEMBER 4,           2021
Case Number: PC-2021-06827
Filed in Providence/Bristol County Superior Court
                 Case 1:21-cv-00461-WES-LDA
Submitted: 11/9/2021 11:03 AM
                                                          Document 1-3 Filed 11/22/21 Page 9 of 11 PageID #: 21
Envelope: 3365267
Reviewer: Jaiden H.


                                                      STATE OF RHODE ISLAND
                                                           SUPERIOR COURT
                                                                SUMMONS
                                                                        Civil Action File       Number
                                                                        PC-2021-06827
        Plaintiff                                                      Attorney for the Plaintiff or the Plaintiff
        FRANCIS DADDONA                                                Henry S. Monti
         v.                                                            Address of the Plaintiff’s Attorney or the Plaintiff
        TARGET CORPORATION                                             GEMMA LAW ASSOCIATES INC
        Defendant                                                      231RESERVOIR AVENUE
                                                                       PROVIDENCE RI 02907

        Licht Judicial     Complex                                     Address of the Defendant
        Providence/Bristol County                                      1000 NICOLLET MALL
        250 Beneﬁt       Street                                        MINNEAPOLIS MN 55403
        Providence RI 02903                                            PLEASE SERVE:   CT CORPORATION SYSTEM
        (401) 222-3250                                                 450 VETERANS MEMORIAL PARKWAY, SUITE 7A
                                                                       EAST PROVIDENCE, RI 02914
        TO THE DEFENDANT, TARGET CORPORATION:
              The above-named         Plaintiff has   brought an action against you in said Superior Court            in   the county
        indicated above.        You   are hereby   summoned and        required to serve upon the Plaintiff’s attorney,        whose
        address     is listed   above, an answer to the complaint which            is   herewith served upon you within twenty (20)
        days aﬁer service of this      Summons upon      you, exclusive of the day of service.

             you fail t0 do so, judgment by default will be taken against you for the relief demanded in the
              If
       complaint. Your answer must also be ﬁled with the court.

              As   provided in Rule 13(a) of the Superior Court Rules of Civil Procedure, unless the relief demanded in
       the complaint      is for damage arising out of your ownership, maintenance, operation, or control of a motor

       vehicle, or unless otherwise provided in Rule 13(a), your answer                     must state as a counterclaim any related
       claim which you          may have   against the Plaintiff, or   you   will thereaﬁer    be barred from making such claim in
       any other action.

       This    Summons was        generated on 11/4/2021.                    /s/   Stephen Burke
                                                                             Clerk



                                              Witness the seal/watermark of the Superior Court




       SC-CMS-l        (revised July 2020)
Case Number: PC-2021-06827
Filed in Providence/Bristol County Superior Court
                 Case 1:21-cv-00461-WES-LDA
Submitted: 11/9/2021 11:03 AM
                                                          Document 1-3 Filed 11/22/21 Page 10 of 11 PageID #: 22
Envelope: 3365267
Reviewer: Jaiden H.


                                                     STATE OF RHODE ISLAND

                                        7
                                                             SUPERIOR COURT
         Plaintiff                                                                           Civil Action File    Number
         FRANCIS         DADDONA                                                             PC—2021-06827
         v.

        TARGET CORPORATION
        Defendant



                                                              PROOF OF SERVICE
              I   hereby certify that on the date below      I   sewed a copy of this Summons, complaint, Language Assistance
        Notice, and       all   other required documents received herewith upon the Defendant,         TARGET CORPORATION,
        by delivering or leaving said papers       in the   following manner:

              D With the Defendant personally.
              D    At the Defendant’s dwelling house or usual place of abode with a person of suitable age and                  discretion
                   then residing therein.
                   Name of person of suitable age and discretion
                   Address of dwelling house or usual place of abode


                   Age
                   R
                         ____
                       ationship to the Defendant
                                                                                                                            _




                  With an agent authorized by a pointment or by law to receive service of process.                 //’4‘Z//22}/"4   -




                   Name of authorized agent     7/ ﬂfmvf/DA/                   V’%0P&X
                                                                                     yfp ”?(ﬂné‘                  ”2"”??le §~//m//§j
                                                                                                                                             ~




                   If the agent is   one designated by   statute to receive service, further notice as required   by   statutelwas given
                   as noted below.




           D With a guardian or conservator of the Defendant.
                  Name    of person and designation

           U By delivering said papers to the attorney general or an assistant attorney general if serving the state.
           D Upon a public corporation, body, or authority by delivering said papers to any ofﬁcer, director, or
                   manager.
                   Name     of person and designation




                                                                    Page   l   of2




       sc-CMs-1          (revised July 2020)
Case Number: PC-2021-06827
Filed in Providence/Bristol County Superior Court
                 Case 1:21-cv-00461-WES-LDA
Submitted: 11/9/2021 11:03 AM
                                                                        Document 1-3 Filed 11/22/21 Page 11 of 11 PageID #: 23
Envelope: 3365267
Reviewer: Jaiden H.


                                                                       STATE OF RHODE ISLAND
                                                                            SUPERIOR COURT
            Upon a private corporation, domestic or foreign:
             D By delivering said papers to an ofﬁcer or a managing or general agent.
               Name of person and designation
             D By leaving said papers at the ofﬁce of the corporation with a person employed therein.
               Name of person and designation
             D By delivering said papers to an agent authorized by appointment or by law to receive service ofprocess.
              Name of authorized agent
                    If the   agent     is   one designated by           statute to receive service, further notice as required           by   statute   was given
                    as noted below.



            D   I   was unable         to   make     service aﬁer the following reasonable attempts:




        SERVICE DATE:                         Z/     /    </       /   2/                               SERVICE FEE$               41/
                                        Month,           Day           Year
        Signature o           H
                                  ‘“
                                               ’




                                                   c!    F%srmwgcw
                                                               ‘
                                                                            ~
                                                                                                              Anthony Cappa!!i#157
        SIGNATURE OF PERSON OTHER THAN A SHERIFF                                                   or   DEPUTY SHERIFF        or   CONSTABLE MUST BE
        NOTARIZED.

        Signature


        State of

        County of

            On this                         day of                                ,   20       ,   before me, the undersigned notary public, personally
       appeared                                                                                                      D     personally    known     to the notary
       or    D         proved          to      the       notary         through       satisfactory        evidence    of     identiﬁcation,        which     was
                                                                                           ,   to   be the person    who    signed above      in   my   presence,
       and who swore or afﬁrmed                      to the notary that the contents               of the document are     truthful to the best    of his or her
       knowledge.
                                                                                       Notary Public:
                                                                                       My commission expires:
                                                                                       Notary identiﬁcation number:
                                                                                      Page 2 of 2




       SC-CMS-l         (revised July 2020)
